; United States Bankruptcy Court for the:
No ae District of cas FEB a f M0

Case number Ufknawn): Chapter you are filing under: U.S. BANKRUPTCY COURT
pler 7 SANTA ROSA, CA
’ €] chapter 11

] Chapter 12
a Chapter 13 1 Check if this is an

amended filing

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12117

The bankruptcy forms use you and Debfor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For exampie, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report Information as Debfor 7 and the other as Debfor 2. The
same person must be Debtor f in all of the forms.

 

Be as complete and accurate as possible. If tvo married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known}. Answer every question.

Part 4: | Identify Yourself

4. Your full name

Write the name that is on your AS

govermentissued picture

About Debtor He 7 About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

 

 

 

 

identification (for example, First ra _ First name
your driver’s license or Le ee :
passport). Middle name : Middle name

i i ™ BEE ped a \ 2 . ,
Bring your picture . : .
identification to your meeting Last name Last name
with the trustee.

Suffix (Se, Jr, tH) ” Suffix (Sr, Jr, i, 10
2. All other names you ie Wie

have used in the last 8 First name | ‘Firstname
years Coe.
Include your married or Middle name _ Middle name
maiden names, ow VES

 

Last name . Last name

    

 

First name

 

 

First name
Middle name Middle narne
Last narne , Last name

 

3. Only the tast 4 digits of OK gy S ae q oe = ee

your Social Security

 

 

number or federal OR OR

Individual Taxpayer

Identification number Oxx - xx -_ Oxx — xx - oe
{ITIN)

 

Official Form 401 Voluntary Petition for Individuals Filing for Bankruptcy page #7

 
Debtor 1 WA: (EE NMwAES

 

First Name

Middle Name

Last Name

Case number tif known),

 

 

4, Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

inchide trade names and
doing business as names

About Debtor 1:

ee not used any business names or EJNs.
A

About Debtor 2 (Spouse OnlyinaJointCase}:

BXShave nol used any business names or EINs.

 

Business name

Business name

 

Business name

EN

EN

‘aN

' Business name

Ein

 

5. Where you live

o> deere Blawdo

 

 

 

if Debtor 2 lives at a different address:

r

N

 

 

 

 

Number Street - Number Street
. - e OT be: :
Yoana: Pugle Ce M525.
City State ZIP Code '. City State ZIP Code
~
SoS NOOK ER,
County _ County

ff your mailing address is different from the one
above, fill itin here. Note that the court will send
any notices to you at this maifing address.

’ [f Debtor 2’s mailing address Is different from

_! yours, fill it in here. Note that the court will send

: any notices to this mailing address.

 

 

 

 

 

 

Number Street Nurtber Street

P.O. Box P.O. Box

City Stale ZIP Code _ City State ZIP Code
8. Why you are choosing Check one: _ Check one:

this district to file for

et ihe last 180 days before filing this petition,
| Fizive lived in this district fonger than in any
other district.

[] § have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

| _-*tT Over the fast 180 days before filing this petition,

1 have fived in this district longer than in any
other district.

: (2) have another reason. Explain.
(See 28 U.S.C. § 1408.}

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 

 
Debtor 4 WSs \S& — aX

 

First Name

Middle Name

Last Name

Part 2: Tell the Court About Your Bankruptcy Case

Check one. (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010). Also, go to the top of page 1 and check the appropriate box.

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Chapter 7

U) Chapter 11
) Chapter 12
QQ Chapter 13

Case number {i known},

 

How you will pay the fee

C1 | will pay the entire fee when | file my petition. Please check with the clerk’s office in your
focal court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your atforney is
submitting your payment on your behalf, your attorney may pay with a credit card or check

with a pre-printed address.

C1 I need to pay the fee in installments. ff you choose this option, sign and attach the
Application for individuals fo Pay The Filing Fee in installments (Official Form 103A).

Nai request that my fee be waived (‘You may request this option only if you are filing for Chapter 7.

By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
fess than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

Have you filed for
bankruptcy within the

No . . |
Aakves. Distict WAAR GSS

 

 

 

Case number _\ s - ‘© Ce 5

 

    

 

 

 

 

last 8 years? — When my DDT Ww -
SOQ eM ‘ v ‘ AS
btstrict “ QUES When Case number _ 8 . oe fr
MM/ DDIYYYY
District When Case aumber
MM / DD/YYYY
io. Are any bankruptcy _. Ao
cases pending or being .
filed bya spouse who is Q) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known.
you, or by a business MMIDD 1 YYYY
partner, or by an °
affiliate?
Bebtor Relationship to yau
District When Case number, if known.
MM DD IYYYY

 

 

+1.

Do you rent your

residence? yo :

 
  

No. Go to line 12.

Ss. Has your landlord obtained an eviction judgment against you?

=6-Fill out initial Statement About an Eviction Judgment Against You {Form 101A} and file it as

. | C1 No. Go to line 42.
40° TBs

“ part of this bankruptcy petition.

 

Official Form 7101

Voluntary Petition for Individuals Filing for Bankruptcy

page 3

 

 
Debtor 4 — Le Se Nie 8

Case number (if known)

 

First Name Middle Nama

Last Name

Er Report About Any Businesses You Own as a Sole Proprietor

 

of any full- or part-time
business? ,

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as
a corporation, partnership, or
LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

12. Are you a sole proprietor

Na. Go to Part 4.

Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State ZIP Code

Check the appropriate box to describe your business:

OC) Health Care Business (as defined in 11 U.S.C. § 194(27A)}
CO) Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
C] Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker {as defined in 11 U.S.C. § 101(6)}}

C1 None of the above

 

43. Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a smaif business
debtor?

For a definition of smaif

business debtor, see
11 U.S.C, § 101{51D).

if you are fillng under Chapter 17, the court must know whether you are a small business debtor so that it
can set approprate deadiines. |f you indicate that you are a smalf business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

any of these documents do not exist, follow the procedure in 14 U.S.C. § 1116(1)(B).

o. -am not filing under Chapter 11.

QiNo. tam fading under Chapter 11, but ] am NOF a small business debtor accarding to the definition in
the Bankruptcy Code.

QC) Yes. fam fing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Part a: | Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

alleged fo pose a threat
of Imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

14. Do you own or have any_ Nino
property that poses or-i

Ci Yes. What is the hazard?

 

 

ff immediate attention is needed, why is t needed?

 

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4

 

 
Debtor 1

 

First Name

Middle Name

Last Name

Ea Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known}

 

15. Tall the court whether
‘you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. ‘You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you +,
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

 

"About Debtor 4:

You must check one:

C} t received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LY | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a capy of the certificate and payment
plan, if any.

certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain these services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obiain the briefing, why
you were unable to obtain H before you filed for
bankruptcy, and what exigent chcumstances
required yau to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for nof receiving a
briefing before you filed for bankrupicy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of fhe payment plan you
developed, if any, If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of #5
days.

C81 am not required to receive a briefing about
credit counseling because of:

Q incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

QO Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |

reasonably tried fa do so.

DC) Active duty. fam currently on active military

duty in a military combat zone.

Hf you believe you are not required to receive a
briefing about credit counseling, you must file a
- motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only ina Joint Case}:
You must check one:

| DD lreceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of compietion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

: LD Ireceived a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

-O | certify that ! asked for credit counseling

7 services from an approved agency, but was

unable to obtain those services during ithe 7

| days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you fited for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for nof receiving a
briefing before you filed for bankruptcy.

if the court is salisfied with your reasons, you must
still receive a briefing within 30 days after you fite.
You must file a certificate fram the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maxinaum of 15
days.

- Olamnot required to receive a briefing about
credit counseling because of:

U] incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

OC) Active duty, |.am currently on active military

duty in a mititary combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 5

 

 
Debtor 4 Lx \oe © we WK Case number (¥ known)

Firstame Middie Name East Name

a Answer These Questions for Reporting Purposes

 

. 16a. Aré your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 104(8)
16. What kind of debts do ‘as “incurred by an individual primarily for a personai, family, or household purpose.”

ou have? Ly
y AD PeaaeeNb. Go to line 16D.

   
  

See Go to line 17.
16b/ Are your debts primarily business debts? Business debts are debts that you incurred to obiain
money for a business or investment or through the operation of the business or investment.

S ?F no. Ge to line 16c.

C) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7? (3 No. | am net fiting under Chapter 7. Go to line 18,

Do you estimate that ater Elves. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and Sate

administrative expenses
are paid that funds will be U1 Yes
available for distribution

to unsecured creditors?

WO

 

 

 

Seca
48, How many creditors do ,-EX"T-49 Q) 4,000-5,000 C) 25,001-50,000
you estimate that you L.] 50-99 C1) 5,001-10,000 CI s0,001-100,000
owe? CQ] 100-199 O) 10,001-25,000 (C] More than 100,000
~, O 200-999
49. How much do you EXx$0-s50,000 () $1,000,001-$40 million OQ) $500,000,001-$1 billion
estimate your assets to (1) $50,001-3100,000 C} $10,000,001-$50 miltion C} $1,000,000,004-840 bitlion
be worth? O) $100,004-$800,000 QO $50,000,601-$100 million O $10,000,000,001-$50 billion
UO $500,001-$4 million C2 $1400,000,001-$500 million Q] More than $50 billion
20, How much do you ~72F0-350,000 C1 $4,000,001-$10 milion ©) $500,000,001-$1 billion
estimate your liabilities “ QO) $50,001-3100,000 (Cd $40,000,001-$50 miltion Ci $1,000,000,001-$40 billion
to be? (1 $100,001-$500,000 1) $50,000,001-$100 million C1 $40,000,000,004-$50 bition .
(] $500,001-$1 million OQ) $409,000,001-$500 mitiion (J More than $50 billion

 

Sign Below
[have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

Hf | have chosen to file under Chapter 7, § am aware that | may proceed, if etigible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

lf no attorney represents me and | did not pay or agree to pay someone who is nof an attomey to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b},

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or abtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C-8§ 152, 1341, AS and 3571.
« AA ‘ Da x -) mead “eo Of 5

Signature of Debtor 1 Signature of Debtor 2
Executed on Executed on
MM / DD IYYYY MM / DD fYYYY

 

 

 

Official Form 701 Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
Debtor 1 Ya \G oe Qo SC Case number (if known}

First ame Middle Name Last Name

 

 

 

 

 

 

 

 

 

 

F it if I, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s} about eligibility
or your allorney, It you are i, proceed under Chapter 7, 11, 42, or 13 of title 14, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor{s)
the notice required by 11 U.S.C. § 342{b) and, in a case in which § 707{b)(4)(D} applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. .
Date

Signature of Atomey for Debter MM / DD IYYYY

Printed name

Firm name

Number Street

City State ZIP Code

Contact phone Email address

Bar number State

 

 

 

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 7

Case: 20-10134 Doc#1 Filed: 02/27/20 Entered: 02/27/20 14:09:28 Page 7 of 8

 
Debtor 4 a \S

FirstName: Middle Name

ek

Case number {if knowa)

 

Last Mame

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

 

 

Official Form 404

  

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financtal and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handie your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrater, or audit
firm if your case is selected for audit. If that happens, you could lose your right fo file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required fo file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you da not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or fying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and compiete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

{f you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the focal rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and fegal
consequences?

O No

Yes

Are you aware that bankruptcy fraud fs a serious crime and that if your bankruptcy forms are
inaccurate of incomplete, you could be fined or Imprisoned?

LI No

“> GLyes

Did you pay or agree fo pay someone who is not an attorney to help you fill out your bankruptcy forms?
io

Q) Yes. Name of Person .
Attach Bankruptcy Petition Preparer's Notice, Decfaration, and Signature (Officiai Form 149).

 

By signing here, 1] acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an

“/ cause me to lose my rights or property if! do not properly handle the case,
4

= x vl

 

Sighaturé of Debtor 7 Signature of Debtor 2
Date — D4-3 OLAS Date
MM/DD/YY MM/ DD IYYYY

Contact phone HI * 23 So} s S “4 Contact phone

 

 

Cell phone Cell phone

Email address wen Email address

Voluntary Petition for Individuals Filing for Bankruptcy page 8

 

 
